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             IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DIVISION OF TEXAS
                     BEAUMONT DIVISION



                                  No.1:08-CR-12


 United States of America


 v.

 Chad Dewayne Richard

                                                Defendant




             Findings of Fact and Recommendation on Guilty Plea
                    Before United States Magistrate Judge


       Pursuant to 28 U.S.C. § 636(b), this matter was referred to the
 undersigned United States Magistrate Judge to receive defendant’s guilty plea.

       On September 4, 2008, d e f endant, defendant’s counsel, and the
 government came before the court for guilty plea and allocution on Count II of
 the Indictment filed herein, charging a violation of 21 U.S.C. § 841(a)(1). After
 conducting proceedings in the form and manner prescribed by Rule 11 of the
 Federal Rules of Criminal Procedure, the undersigned accepted the guilty plea
 upon finding that:

       (1)    Defendant, after consultation with counsel of record, knowingly and
 voluntarily consents to pleading guilty before a United States magistrate judge,

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 and did plead guilty to Count II of the Indictment subject to final approval of the
 plea agreement, conviction and imposition of sentence by the district judge to
 whom this case is assigned.

       (2)   Defendant is fully competent and capable of entering an informed
 plea, is aware of the nature of the charges and the consequences of the plea, and
 the plea of guilty is a knowing and voluntary plea supported by an independent
 basis in fact containing each of the essential elements of the offense.

       (3)    Defendant’s plea is made pursuant to a plea agreement, a copy of
 which was produced for inspection and filed in the record. The plea agreement
 is of the type specified in Fed. R. Crim. P. 11 (c)(1)(A) and (B), in that (1) the
 government agrees to not bring, or move to dismiss, other charges and (2) the
 parties agree and make a non binding recommendation that a particular
 provision of the Sentencing Guidelines, policy statement, or sentencing factor
 does or does not apply.

       (4)   Defendant was advised that the court would defer its decision as to
 acceptance o r r e jection of the plea agreement until there has been an
 opportunity to consider the presentence report.

       (5)   Defendant was further advised that if the court chooses not to follow
 the plea agreement’s stipulations regarding appropriat e sentencing factors,
 defendant will have no right to withdraw the plea.

       (6)   Defendant was further advised that if the court accepts that part of
 the plea agreement provision wherein the United States agrees to dismiss or not
 bring other charges, such agreed disposition will be included in the judgment.
 Defendant was further advised that if the court rejects that provision, the court
 will give defendant an opportunity to withdraw the plea of guilty. Defend ant


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 was further advised that if defendant were to then choose not to withdraw the
 plea of guilty, t he court may dispose of the case less favorably toward the
 defendant than the plea agreement contemplated.

                              RECOMMENDATION

 Defendant’s guilty plea has been accepted. The court should defer its decision
 as to acceptance or rejection of the plea agreement until it has an opportunity
 to consider the presentence report. If the court ultimately decides to accept the
 plea agreement, defendant should be adjudged guilty of the offense to which he
 has pleaded guilty.1


       SIGNED this 4 day of September, 2008.




                                      ______________________________________
                                      Earl S. Hines
                                      United States Magistrate Judge




       1     28 U.S.C. § 636 normally g i v es parties ten days to object to
 recommendations submitted by a magistrate judge. However, as this recommendation
 is agreed, the court need not wait ten days before adopting such recommendation.


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